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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING                                    11:27 am, 1/17/19
                                                                                       Stephan Harris
WESTERN WATERSHEDS PROJECT,                  )                                         Clerk of Court
et al.,                                      )
                                             )
               Petitioners,                  )
                                             )
v.                                           )       Civ. No. 17-cv-202-NDF
                                             )
VICKI CHRISTIANSEN, Chief, U.S.              )
Forest Service, et al.,                      )
                                             )
               Respondents,                  )
                                             )
and                                          )
                                             )
STATE OF WYOMING,                            )
                                             )
               Respondent-Intervenor         )


 ORDER GRANTING UNOPPOSED MOTION TO HOLD IN ABEYANCE FURTHER
    PROCEEDINGS IN CONNECTION WITH PETITIONERS’ MOTION FOR
                   ATTORNEYS’ FEES AND COSTS


       This matter is before the Court on Petitioner’s unopposed motion seeking to hold in

abeyance further proceedings related to Petitioners’ application for attorneys’ fees and costs. The

Court has reviewed the motion and is fully informed in the premises.

       IT IS ORDERED that Petitioner’s Motion is GRANTED. The Court will STAY any

further proceedings in this case until ninety (90) days after appropriations have been restored to

both the Department of Justice and the Department of Agriculture.

       Dated this _____
                   WK day of January, 2019.



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                                              _______
                                                   _______________________
                                             NANCY
                                              ANCY Y D.D FREUDENTHAL
                                             UNITED STATES DISTRICT JUDGE
